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                  Exhibit 8
    Declaration of Mitchell Locher
           (Nov. 22, 2023)
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  UNITED STATES DISTRICT COURT, DISTRICT OF MONTANA
                    BUTTE DIVISION

THE IMPERIAL SOVEREIGN COURT
OF THE STATE OF MONTANA; ADRIA
JAWORT; RACHEL CORCORAN; THE
MONTANA BOOK COMPANY; IMAGINE
BREWING COMPANY, LLC d/b/a                         Cause No. CV 23-50-BU-
IMAGINE NATION BREWING                                     BMM
COMPANY; BUMBLEBEE AERIAL
FITNESS; MONTANA PRIDE; THE
WESTERN MONTANA COMMUNITY                              Declaration of
CENTER; THE GREAT FALLS LGBTQ+                        Mitchell R. Locher
CENTER; THE ROXY THEATER; and
THE MYRNA LOY,

                           Plaintiffs,
             vs.

 AUSTIN KNUDSEN; ELSIE ARNTZEN;
 J.P. GALLAGHER; and the CITY OF
 HELENA,

                           Defendants.

I, Mitchell R. Locher, declare as follows:
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1.   I am over the age of eighteen years, am competent to testify as to

     the matters set forth herein, and I make this declaration based

     upon my personal knowledge and belief.

2.   I am a resident of Missoula, Montana.

3.   I am the president of The Imperial Sovereign Court of the State of

     Montana (“the Imperial Court”), a domestic nonprofit corporation

     founded in 1993 and headquartered in Bozeman, Montana. I was

     elected president of the Imperial Court on October 5, 2023.

4.   The Imperial Court is a membership organization. Individuals

     must be 18 years old to become a member.

5.   I am a member of the Imperial Court, performing as Ivanna

     Bourgeois.

6.   I am a cisgender male, devoted family member, friend to all, and

     an insurance industry professional.

7.   The mission of the Imperial Court is to educate and advocate for

     LGBTQ+ individuals and allies through the production of

     community-based drag performances that explore multiple gender

     expressions in an entertaining and educational atmosphere and

     create a safe and welcoming environment.



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8.    The Imperial Court is a prolific fundraiser, directing all net

      proceeds from its events to enriching the community. The

      Imperial Court is a regular donor to the Bozeman Symphony,

      SAGA schools, the American Foundation for Suicide Prevention of

      Montana, the Bozeman-area Human Resource Development

      Council, and other Montana nonprofit organizations.

9.    Imperial Court events also raise funds for homeless shelters and

      other community needs and the Imperial Court provides

      numerous scholarships to LGBTQ+ and allied individuals across

      the state.

10.   Additionally, the Imperial Court supports the community by being

      a safe space for conversation and gatherings. For example, after a

      Neo-Nazi group attacked Bozeman Pride, causing injuries and

      emotional trauma, we opened our doors, held debrief sessions, and

      compiled a resource list for the community.

11.   Imperial Court members are impactful educators, hosting

      conversations and seminars on many important topics, including

      consent, sober driving, gender identity, sexual orientation, and

      acceptance. As with all the Imperial Court’s activities, these



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      educational events are carefully curated to be age-appropriate for

      each audience.

12.   The Imperial Court’s drag performances are strictly tailored based

      on age group, with some performances for adults-only and other

      performances for all-ages. We take steps to ensure that minors do

      not attend shows intended for our adult-only audiences.

13.   The all-ages drag performances we put on are appropriate for

      anybody. We do not perform “burlesque drag” or strip. Our

      performances are strictly power-lip syncing to uplifting songs.

14.   The costumes for these all-ages performances are also age-

      appropriate, with exhaustive guidelines outlining what is and is

      not appropriate costuming for an all-ages show. Simply stated, if

      a performer could not wear it into a kindergarten class, they

      cannot wear it to an all-ages show.

15.   Our drag performances necessarily include drag and flamboyant

      costuming and may also include sexual content as defined by HB

      359. For example, under HB 359, the use of prosthetic cleavage at

      these events could be considered a “sexually oriented

      performance.”



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16.   The Imperial Court produces drag shows at small business and

      public spaces across the state. Venues include public libraries,

      bookstores, bars, public parks, museums, churches, comedy clubs,

      schools, and even the Montana State Capitol building.

17.   Many of these locations appear to be subject to the restrictions

      imposed by HB 359, severely curtailing our ability to perform and

      diminishing our reach.

18.   Since HB 359 went into effect, we have had shows across the state

      canceled, modified, and placed in limbo.

19.   While we were able to perform at Bozeman Pride on May 19 to 21,

      2023, before HB 359 became effective, a show at the Museum of

      the Rockies originally scheduled for August 26, 2023, has been

      repeatedly rescheduled, with no clear sign that it will be allowed

      to happen at all.

20.   A drag story hour event at Zoo Montana in Billings scheduled for

      June 22, 2023, has been postponed indefinitely due to HB 359.

      We successfully put on the same event at Zoo Montana just last

      year.




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21.   At Red Lodge Pride on June 2 and 3, 2023, we had to increase the

      restrictions for our all-ages performances and modify costuming

      due to concerns about HB 359’s penalties. We also hired police

      officers for our performers' safety.

22.   At Missoula Pride on June 17, 2023, event organizers modified our

      scheduled slate of events due to HB 359—and did not advertise

      the drag story hour event at all. As we did for Red Lodge Pride,

      we modified elements of the all-ages show in response to concerns

      about HB 359.

23.   At Billings Pride on June 22 to 24, 2023, the drag story hour was

      again not advertised by event organizers. We also followed our

      new, self-imposed restrictions for the drag event held on public

      property in response to performers’ and event organizers’ fears of

      liability under HB 359.

24.   At Anaconda Pride on June 30, 2023, in response to fears about

      HB 359’s penalties, we changed our 16+ show to be adults-only.

      Unfortunately, this limited the reach of our performance and did

      not exercise the full community-building capacity our performance

      could have had.



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25.   At Butte Pride on July 1, 2023, we opted out of advertising our all-

      ages drag show and followed our new restrictions on costuming

      and performances due to HB 359.

26.   At Libby Pride on July 8, 2023, we again did not advertise and

      were forced to modify the performance due to fear of HB 359’s

      penalties.

27.   Across the state, our performers have been incredibly fearful of

      legal action being taken against them under HB 359.

28.   As President of the Imperial Court, I am unable to determine how

      we can come into compliance with HB 359 while still serving our

      mission, our members, and our audience.

I declare under penalty of perjury that the foregoing is true and correct.

DATED this _____
           22    day of November, 2023, in Missoula, Montana.


                                          Mitchell R. Locher
                                         ID NqqAtcthar3m2CDGYXcyD3gZ


                                        Mitchell R. Locher




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eSignature Details

Signer ID:        NqqAtcthar3m2CDGYXcyD3gZ
Signed by:        Mitchell R. Locher
Sent to email:    president@iscsm.org
IP Address:       35.151.217.142
Signed at:        Nov 22 2023, 6:20 am MST
